Case 2:19-cv-05030-JDW Document 125-4 Filed 04/20/21 Page 1 of 24




               EXHIBIT B
                Case 2:19-cv-05030-JDW Document 125-4 Filed 04/20/21 Page 2 of 24
Deposition of Steven Levy                                             Lisa Barbounis v. Middle Eastern Forum, et. al.


                   IN THE UNITED STATES DISTRICT FOR THE EASTERN
                                  DISTRICT OF PENNSYLVANIA


                                               *     *    *
          LISA BARBOUNIS,                        : CIVIL ACTION - LAW
                 Plaintiff                       :
                                                 :
                       vs                        :
                                                 :
          MIDDLE EASTERN FORUM,                  :
          et al.,                                :
                  Defendants                     : NO. 2:19-cv-05030

                                               *     *    *


                                 Videotaped deposition of STEVEN LEVY,
          via video conference, taken on Tuesday, November 24,
          2020, beginning at 2:03 p.m. before Pamela Pratt, via
          video conference, Court Reporter and Notary Public in
          and for the Commonwealth of Pennsylvania.




                                               *     *    *




                                 215-341-3616 transcripts@everestdepo.com
                                        Everest Court Reporting LLC                                       Page: 1 (1)
                Case 2:19-cv-05030-JDW Document 125-4 Filed 04/20/21 Page 3 of 24
Deposition of Steven Levy                                             Lisa Barbounis v. Middle Eastern Forum, et. al.


          APPEARANCES:
                            SETH D. CARSON, ESQUIRE
                            (Via video conference)
                            DEREK SMITH LAW GROUP, PLLC
                            1835 Market Street, Suite 2950
                            Philadelphia, Pennsylvania 19103
                            (215)391-4790
                            seth@dereksmithlaw.com
                            -- Representing the Plaintiff

                            DAVID J. WALTON, ESQUIRE
                            JONATHAN R. CAVALIER, ESQUIRE
                            (Via video conference)
                            COZEN O'CONNOR
                            One Liberty Place
                            1650 Market Street
                            Philadelphia, Pennsylvania 19103
                            (215)665-2000
                            dwalton@cozen.com
                            -- Representing the Defendant
                               Middle Eastern Forum

                            SIDNEY L. GOLD, ESQUIRE
                            WILLIAM RIESER, ESQUIRE
                            (Via video conference)
                            SIDNEY L. GOLD & ASSOCIATES, P.C.
                            Eleven Penn Center, Suite 515
                            1835 Market Street
                            Philadelphia, Pennsylvania 19103
                            (215)569-1999
                            sgold@discrimlaw.net
                            -- Representing the Defendant Gregg Roman

          ALSO PRESENT:
                            Mike Gannone - Videographer
                            Marc Fink
                            Gregg Roman
                            Daniel Pipes




                                 215-341-3616 transcripts@everestdepo.com
                                        Everest Court Reporting LLC                                       Page: 2 (2)
                Case 2:19-cv-05030-JDW Document 125-4 Filed 04/20/21 Page 4 of 24
Deposition of Steven Levy                                              Lisa Barbounis v. Middle Eastern Forum, et. al.


                                              I N D E X
                                                *     *    *
          WITNESS:          Steven Levy
          QUESTIONED BY:                                  PAGE
                       Mr. Carson                              5




                                         E X H I B I T S
                                                *     *    *

                                                                                              MARKED
          NUMBER             DESCRIPTION                                                      FOR ID
          (None marked.)




                                  215-341-3616 transcripts@everestdepo.com
                                         Everest Court Reporting LLC                                       Page: 3 (3)
                Case 2:19-cv-05030-JDW Document 125-4 Filed 04/20/21 Page 5 of 24
Deposition of Steven Levy                                                       Lisa Barbounis v. Middle Eastern Forum, et. al.
                                                      Page 4                                                         Page 6
 1                    * * *                                     1 of answers don't have a lot of meaning on the record, so
 2             (It is hereby stipulated and agreed by           2 please keep all your answers verbal today, okay?
 3 and among counsel for the respective parties that            3 A.         Okay.
 4 sealing, certification, and filing are waived and that       4 Q.         And it's important that we don't talk over
 5 all objections, except as to the form of the question,       5 each other. Sometimes you'll anticipate my question or
 6 are reserved until the time of trial.)                       6 I'll anticipate your answer, but it's hard for the court
 7                    * * *                                     7 reporter to type two people talking at the same time.
 8             THE VIDEOGRAPHER: We are now on the              8 So, you know, we'll just try to avoid interrupting each
 9 record. Today's date is Tuesday, November 24th, 2020         9 other, okay?
10 and the time is 2:03 p.m. Eastern Standard Time. This       10 A.         Okay.
11 is the video-recorded deposition of Steven Levey in the     11             MR. WALTON: Hey, Seth, can we just have
12 matter of Lisa Barbounis versus Middle Eastern Forum, et    12 an agreement that it's usual stipulations, reserve all
13 al., in the United States District for the Eastern          13 objections, except objections to form, until the time of
14 District of Pennsylvania, Case Number 219-cv-05030.         14 trial and the witness will read and sign?
15             My name is Michael Gannone from Everest         15             MR. CARSON: Yes.
16 Court Reporting and I am the video specialist. The          16             MR. WALTON: Thank you.
17 court reporter today is Pam Pratt, also from Everest        17             MR. CARSON: So noted.
18 Court Reporting. All counsel appearing today will be        18 BY MR. CARSON:
19 noted on the stenographic record. Will the court            19 Q.         And so you've been sworn by the court
20 reporter please swear in the witness.                       20 reporter today, so all your answers have the same force
21                   * * *                                     21 and effect as if you were testifying in a courtroom in a
22                  STEVEN LEVY,                               22 trial. So do you understand that?
23          having been first duly sworn, was                  23 A.         Yes.
24          examined and testified as follows:                 24 Q.         Please state your full name for the record?
25                    * * *                                    25 A.         Steven Mark Levy.
                                                      Page 5                                                           Page 7
 1                 EXAMINATION                                  1 Q.        And Mr. Levy, what do you do for a living?
 2                  * * *                                       2 A.        I have a real estate business in New York
 3 BY MR. CARSON:                                               3 City. We operate various kinds of commercial property
 4 Q.         Mr. Levy, my name is Seth Carson and we're        4 and I am also responsible for a family office.
 5 here today to take a deposition for the matter of Lisa       5 Q.        What's a family office?
 6 Barbounis versus Middle East Forum, Daniel Pipes and         6 A.        A family office is, I guess, a management
 7 Gregg Roman. I represent the plaintiff who is Lisa           7 office that runs the affairs of a family or even the
 8 Barbounis and we're going to take your deposition. So        8 extended family.
 9 the first thing I'm going to ask you is, have you ever       9 Q.        Okay. So that's for a particular family that
10 done a deposition before?                                   10 you do that work for?
11 A.         Yes.                                             11 A.        My family.
12 Q.         Okay. When's the last time you did a             12 Q.        Okay.
13 deposition?                                                 13 A.        My extended family.
14 A.         It was less than ten years ago. I'm not -- I     14 Q.        Fair enough. And we're not really here today
15 have to think carefully about it. Certainly nine years      15 to talk about your personal business. We're here today
16 ago and I may have had something more recent. It's been     16 to talk about your connection with the Middle East
17 a few years.                                                17 Forum, okay? So I guess that's, kind of, a good segue.
18 Q.         Okay. Well, just -- I want to give you some      18 Can you please describe briefly what your relationship
19 ground rules just to try keep it running smooth. So         19 is with the Middle East Forum?
20 it's a question-and-answer session. So I'll ask you         20 A.        I'm currently chairman of the executive
21 questions and you'll provide responses -- any response      21 committee, have been for a number of years. I've been a
22 that you want, yes, no, I don't know or you can say I       22 contributor and supporter of Daniel's since he started.
23 don't remember, any other responsive answer you'd care      23 Q.        What does it mean to be the chairman of the
24 to provide, but you have to keep all your answers           24 executive committee?
25 verbal. So nods and shrugs, huh-uh, uh-huh, those types     25 A.        Well, I moderate board meetings and pull the
                                        215-341-3616 transcripts@everestdepo.com
                                               Everest Court Reporting LLC                                      Page: 4 (4 - 7)
                Case 2:19-cv-05030-JDW Document 125-4 Filed 04/20/21 Page 6 of 24
Deposition of Steven Levy                                                       Lisa Barbounis v. Middle Eastern Forum, et. al.
                                                    Page 8                                                         Page 10
 1 executive committee together and we handle the affairs        1 between the executive committee and the board of
 2 of the organization.                                          2 governors?
 3 Q.        You said that you moderate board meetings; is   3 A.         The executive committee in the organizations
 4 that correct?                                             4 I've been involved with is a small group of leaders who
 5 A.        Yes.                                            5 actually help operate the organization whereas the board
 6 Q.        How often are board meetings held?              6 tends to be a broader outreach to supporters and
 7 A.        Well, I would say once or twice a year.         7 interested parties to keep them informed, have them --
 8 Executive committee is probably two, three times a year. 8 equip them with information so that they can be
 9 Q.        So are -- board meetings and meetings of the    9 ambassadors for the organization and so on.
10 executive committee, are those two different things?     10 Q.         Regarding the executive committee meetings,
11 A.        Yes.                                           11 is that -- are there minutes kept at those executive
12 Q.        So I noticed on the website for Middle East    12 committee meetings?
13 Forum there's a list of officers, there's a list of      13 A.         Not sure. We don't formally review them. If
14 people on the executive committee and there's also a     14 they're kept, I'm not sure.
15 list of people on the board of governors. So is          15 Q.         And Gregg Roman's position as secretary, that
16 there -- are there meetings where just the officers      16 is a position that exists in connection with the
17 attend? Are there any meetings like that?                17 executive committee?
18 A.        So if we have a high-level meeting that is     18 A.         Yes.
19 not specifically or formally the executive committee,    19 Q.         And your position as chairman also exists in
20 we -- I might huddle with one or two other lay leaders   20 connection with the executive committee, correct?
21 and Daniel and Gregg about -- could be compensation      21 A.         Yes.
22 because we do that once a year. Or there may be a        22 Q.         And then just to round it out, Daniel Pipes's
23 particular matter that comes up ad hoc -- you could say  23 position as president is in connection with the
24 ad hoc committees but they're not even -- there's more   24 executive committee, right?
25 ad hoc -- sometimes just if the subject comes up, we     25 A.         Yes.
                                                        Page 9                                                        Page 11
 1 pull in the people that are most likely to be                 1 Q.  And vice chairman, Joshua Katzen, the same?
 2 contributory.                                            2 A.       Yes.
 3 Q.        So there are not -- so the regular meetings    3 Q.       And treasurer, Lawrence Hollin?
 4 then are relegated to meetings of the executive          4 A.       Yes.
 5 committee and then meetings of the board of governors;   5 Q.       Do you recall whether or not there were ever
 6 is that correct?                                         6 matter -- issues related to allegations of sexual
 7 A.        Correct.                                       7 harassment discussed at any of the meetings with the
 8 Q.        And is there a schedule -- are there -- let's  8 executive committee?
 9 say just for the executive committee meetings first. Is  9 A.       Nothing beyond a report to the board that
10 there a schedule where, you know, every year the        10 we're in litigation.
11 executive committee meetings are on such-and-such days? 11 Q.       And that report to the board, that was made
12 A.        No.                                           12 at a board meeting, that was not an executive committee
13 Q.        They are scheduled as needed; is that fair to 13 meeting; is that right?
14 say?                                                    14 A.       Correct.
15 A.        Right.                                        15 Q.       When did that notice of the litigation to the
16 Q.        And is that the same for the board of         16 board occur first?
17 governors meetings or the board meetings?               17 A.       I think it was over a year ago. I could be
18 A.        Yes.                                          18 wrong about that.
19 Q.        What is the executive committee?              19 Q.       And did that occur at a board meeting that
20 A.        Well, typically -- in this case and           20 was in New York?
21 typically, it is the more operating end of the          21 A.       Yes.
22 governance of the entity. So board of directors may     22 Q.       Was Janet Doerflinger at that meeting?
23 meet and review things and vote on them, but all of the 23 A.       Yes.
24 work tends to happen at the executive committee.        24 Q.       Were the allegations discussed at that
25 Q.        And so how would you describe the difference  25 meeting?

                                           215-341-3616 transcripts@everestdepo.com
                                                  Everest Court Reporting LLC                                  Page: 5 (8 - 11)
                Case 2:19-cv-05030-JDW Document 125-4 Filed 04/20/21 Page 7 of 24
Deposition of Steven Levy                                                        Lisa Barbounis v. Middle Eastern Forum, et. al.
                                                     Page 12                                                           Page 14
 1 A.       She raised questions.                            1 not have even been in -- I don't recall.
 2 Q.       Do you remember what questions she raised?       2 Q.       Okay. Did Daniel Pipes present information?
 3 A.       I don't.                                         3 And I'm specifically referring to information related to
 4 Q.       Do you remember how those questions were         4 allegations that were made involving Gregg Roman and
 5 addressed?                                                5 sexual harassments.
 6 A.       I don't remember the conversation.               6 A.       Yes, he discussed the cases.
 7 Q.       Do you know whether or not the veracity of       7 Q.       Prior to any litigation being filed, did you
 8 the allegations of sexual harassment were discussed?      8 ever hear about any allegations of sexual harassment
 9 A.       They must have been. I mean, if I had the        9 involving Gregg Roman?
10 transcript of that meeting in front of me, I could       10 A.       No.
11 confirm that I -- you know, I could now recall that, but 11 Q.       And so part of the -- have you ever read the
12 I -- you know, I don't remember the conversation.        12 Complaint in this case, Mr. Levy?
13 Q.       There was a transcript from that meeting?       13 A.       No.
14 A.       I know of none.                                 14 Q.       Part of the -- I'll represent to you, part of
15 Q.       Are there transcripts customarily taken at      15 the allegations in the Complaints involve a meeting that
16 these board meetings?                                    16 was held at the Middle East Forum's Philadelphia office
17 A.       There are typically -- there are typically a    17 on November 5th, 2018. And I was just -- my question
18 minute -- there's typically a minutes.                   18 is, do you have any knowledge related to that meeting
19 Q.       And who takes those minutes?                    19 that was held on November 5th, 2018 at the Philadelphia
20 A.       I'm not sure.                                   20 offices?
21 Q.       If I represent to you that the -- hang on one   21 A.       No.
22 second, please -- that the Middle East Forum bylaws      22 Q.       And I'll represent to you that meeting was
23 lists Gregg Roman as the secretary and that one of the   23 held to discuss, among other things, issues related to
24 duties of the secretary is to take minutes, does that    24 allegations of sexual harassment. Does that ring any
25 help you remember who might have taken minutes at the 25 bells regarding whether or not you ever heard about or
                                                     Page 13                                                           Page 15
 1 board meetings?                                              1 discussed at one of these meetings any allegations
 2 A.        No. He may have taken the minutes or maybe         2 involving Gregg Roman?
 3 somebody else did.    As I said, generally I see minutes     3 A.       It was so long ago that Daniel let me know
 4 from board meetings, but I really don't pay too much         4 what was going on.    Whether he spoke specifically about
 5 attention to who did it.                                     5 that meeting or informed me at the time, I just don't
 6 Q.        Other than that instance at a board meeting        6 recall.
 7 in New York, were there any other times that you recall      7 Q.       But sitting here today, you believe the first
 8 that issues related to allegations of sexual harassment      8 time you heard about these allegations would have been
 9 were discussed by either the executive committee or the      9 at the executive committee meeting in 2019?
10 board?                                                      10 A.       Yes, or a phone call from Daniel prior.
11 A.        That's the only board meeting I recall. And       11 Q.       Do you specifically recall any phone call
12 as far as the executive committee is concerned, we must     12 from Daniel prior?
13 have discussed it prior to that board meeting that it       13 A.       I mean, we talk from time to time. And it
14 was going to be brought up and Daniel and, I suppose,       14 would be normal for him to let me know what was coming
15 Gregg gave us a little bit of a briefing. We really         15 at the executive, so I assume that we had a
16 haven't met this year, by the way.                          16 conversation.
17 Q.        I noticed that in 2019, the meetings were         17 Q.       Are you basing that assumption just on your
18 held at the end of the year. So is that customarily         18 prior experience working with Mr. Pipes or do you have a
19 when these types of meetings take place is at year end?     19 specific memory of a call where you discussed these
20 A.        It depends. There's usually something in the      20 allegations prior to?
21 fall and something in the spring.                           21 A.       It must have happened. I don't have a -- I
22 Q.        At the executive committee meeting, did you       22 don't have a specific memory of the conversation.
23 say that Gregg Roman presented information to the           23 Q.       Do you remember anything that Mr. Pipes said
24 executive committee?                                        24 to you during that conversation?
25 A.        He may have. I assume that he did. He may         25 A.       Other than to the effect that he was very
                                       215-341-3616 transcripts@everestdepo.com
                                              Everest Court Reporting LLC                                      Page: 6 (12 - 15)
                Case 2:19-cv-05030-JDW Document 125-4 Filed 04/20/21 Page 8 of 24
Deposition of Steven Levy                                                          Lisa Barbounis v. Middle Eastern Forum, et. al.
                                                      Page 16                                                            Page 18
 1 upset that he was being sued -- he and Gregg were being        1 reporter for the Washington Examiner?
 2 sued and he felt it was very wrong.                            2 A.  Sex for stories?
 3 Q.        Why did he say it was wrong?                         3 Q.  Yeah.
 4 A.        Because he described how none of it was true.   4 A.       No, I've never heard that.
 5 Q.        Did he tell you why he didn't think it was      5 Q.       Have you ever heard a tape recording where
 6 true -- the allegations were true?                        6 she describes in detail her interaction with Gregg Roman
 7 A.        Well, I suppose if someone accused me of        7 where he commanded her to come to her [sic] hotel room
 8 doing something and I knew I didn't do it, I would argue  8 that night and he would give her a good story in return?
 9 that it wasn't true.                                      9 A.       No.
10 Q.        But nobody accused Daniel Pipes of sexual      10            MR. WALTON: Objection to form.
11 harassment, though, right?                               11 BY MR. CARSON:
12 A.        I'm not sure of the specific allegations in    12 Q.       You never heard that recording?
13 the cases.                                               13 A.       No.
14 Q.        Do you know how many women over the last five  14 Q.       Do you know whether -- so then you wouldn't
15 years have reported sexual harassment involving Gregg    15 have any knowledge whether Mr. Pipes ever even called
16 Roman?                                                   16 these women to talk to them or interview them or ask for
17 A.        I don't know the precise number.               17 a statement from them in connection with these
18 Q.        If I told you it was eight, would that         18 allegations?
19 surprise you?                                            19            MR. WALTON: Objection to form. You can
20             MR. WALTON: Objection to form, but you       20 answer.
21 can answer.                                              21            THE WITNESS: No, I do not know of that.
22             THE WITNESS: I suppose it wouldn't           22 BY MR. CARSON:
23 surprise me considering that there are a handful         23 Q.       Are these the type of allegations that you
24 involved with this case, if I'm correct -- cases, if I'm 24 think would be important to know about when determining
25 correct.                                                 25 the veracity of other allegations of sexual harassment?
                                                        Page 17                                                          Page 19
 1 BY MR. CARSON:                                                 1           MR. WALTON: Objection to form. You can
 2 Q.       Have you ever heard of any allegations of             2 answer.
 3 sexual harassment involving women who weren't involved         3           THE WITNESS: I'm tempted to answer as a
 4 in these cases?                                                4 lawyer right now and I'm not a lawyer.
 5 A.      I don't recall. I don't think so.                      5 BY MR. CARSON:
 6 Q.      Did you know that a female employee named              6 Q.         You can answer however you want to.
 7 Tiffany Lee filed a charge of discrimination at the EEOC       7 A.         I mean, I don't know that any allegations are
 8 in 2016 accusing Gregg Roman of sexual harassment?              8 relevant except for the ones that are actually being
 9 A.      That was mentioned to me over the summer,               9 brought to court. They're just allegations, right?
10 yes.                                                           10 Q.        Agreed. But do you -- would you agree that
11 Q.      Over the summer of 2020?                               11 there is a certain number of allegations that can be
12 A.      Yes.                                                   12 made where organizations might take a position with
13 Q.      Did you hear about it back in 2016?                    13 regard to protecting the organization and weigh that
14 A.      No.                                                    14 over confirming the veracity of the allegations? If you
15 Q.      Were you the --                                        15 understood that question, you're a better person than I
16 A.      Or at least I don't recall hearing it.                 16 am.
17 Q.      And you were the chairman, though, of Middle           17             MR. WALTON: Yeah, I was going to object
18 East executive committee in 2016, correct?                     18 to that one.
19 A.      Yes.                                                   19 BY MR. CARSON:
20 Q.      Did you ever hear about an allegation that             20 Q.        Strike that. I'll ask a better question.
21 Gregg Roman had sex with a young intern named Leah             21 Let me think. So have you ever heard of an allegation
22 Merville?                                                      22 involving a female employee named Laura Frank? And by
23 A.      I've never heard.                                      23 that, I mean allegation of sexual harassment involving
24 Q.      Have you ever heard about an allegation that           24 Gregg Roman.
25 Gregg Roman attempted to trade sex for stories with a          25 A.        I'm trying to place the name. I may have
                                         215-341-3616 transcripts@everestdepo.com
                                                Everest Court Reporting LLC                                      Page: 7 (16 - 19)
                 Case 2:19-cv-05030-JDW Document 125-4 Filed 04/20/21 Page 9 of 24
Deposition of Steven Levy                                                              Lisa Barbounis v. Middle Eastern Forum, et. al.
                                                           Page 20                                                            Page 22
 1 heard of it, but I don't recall the name.                          1 allegations -- any of them?
 2 Q.       Have you ever heard of an allegation of a                 2 A.        Yes, he assured me that they were all
 3 female employee regarding sexual harassment and Gregg              3 spurious.
 4 Roman by an employee named Lara Szott?                             4 Q.        Did he say that were all spurious based on
 5 A.        Iris?                                                    5 his personal opinion or did he say that they were all
 6 Q.        Lara Szott.                                              6 spurious based on some sort of investigation that was
 7 A.        Lara Szott. No. I mean, I think in a couple              7 performed?
 8 of the times that Daniel briefed me, he mentioned a                8 A.        I don't recall the conversation well enough
 9 bunch of names. But I'm not good with names anyway, so             9 to state affirmatively one way or the other, but I
10 if I speak to him once every three months on the subject          10 wouldn't doubt if he had given me steps that he had
11 and he mentions a name, I won't remember it the next              11 taken.
12 time, so...                                                       12 Q.        Do you know what any of the steps were that
13 Q.        Just to be -- for the record, how about                 13 he took to investigate these allegations?
14 Lara -- strike that. How about Gabrielle Bloom?                   14 A.        I don't. I don't recall.
15 A.        Maybe. I don't know.                                    15 Q.        Do you know how long his investigation took?
16 Q.        Do you know what the allegations are that my            16 A.        No.
17 client, Lisa Barbounis, has made involving Gregg Roman?           17             MR. WALTON: Objection to form. You can
18 A.        I'm sorry. Say that again. I didn't quite               18 answer.
19 hear it. You trailed off.                                         19 BY MR. CARSON:
20 Q.        Do you know -- I'll speak up. Do you know               20 Q.        Have you ever seen any document related to
21 what the allegations are that my client, Lisa Barbounis,          21 Mr. Pipes's investigation into the allegations that
22 made in connection with Gregg Roman and sexual                    22 these women made -- that any of these women made?
23 harassment?                                                       23 A.      Not that I recall.
24 A.        I could not list the specific allegations.              24 Q.      By "documents," I would -- you know,
25 But I know in general, she, I guess, feels sexually               25 conclusionary reports or investigative reports or
                                                           Page 21                                                            Page 23
 1 harassed, mistreatment in the office, prejudicial                  1 witness statements, things like that.
 2 treatment, stuff like that.                                        2 A.        Right. Not that I recall.
 3 Q.        Do you know of an allegation that she made               3 Q.        Okay. Do you know anything about a
 4 involving touching, where Gregg -- she alleged --                  4 counterclaim that was -- that the Middle East Forum made
 5 whether she alleged that Gregg Roman touched her in a              5 in this case, Lisa Barbounis versus Middle East Forum?
 6 sexual way?                                                        6 A.        I do know that Gregg and Daniel have filed
 7 A.        I don't recall specifically, but I take your             7 counterclaims.
 8 word that those were one of the allegations.                       8 Q.        Do you know anything about those
 9 Q.        I'll represent to you that the allegation                9 counterclaims?
10 involving touching allegedly occurred on a work trip to           10 A.        Well, they reported to me that they've been
11 Israel. Does that help your recollection?                         11 doing their own investigating and that they've assured
12 A.        Sure. I guess that sounds a little more                 12 me that the complainants are not only incorrect, but are
13 familiar.                                                         13 doing things for ulterior motives.
14 Q.        You recall that?                                        14 Q.        Have you ever seen any evidence to support
15 A.        I recall being told something like that.                15 that claim?
16 Q.        How about an allegation that another employee           16 A.        No.
17 named Patricia McNulty and an unwanted sexual touching,           17 Q.        Have you ever discussed with Mr. Pipes
18 do you have any knowledge of allegations like that?               18 terminating Mr. Roman's employment with the Middle East
19 A.        I have knowledge that Patricia was one of the           19 Forum and severing all relations with Mr. Roman?
20 ladies who was part of this group of aggrieved ladies             20 A.        We have discussed it not at my suggestion.
21 and that she had complaints. Again, I don't know the              21 Q.        At whose suggestion was that discussed?
22 specifics. As I mentioned, I haven't even read the                22 A.        It came up in the context of Gregg needing to
23 Complaint -- Complaints.                                          23 be out of the office and stationing him in Israel and
24 Q.        Have you ever discussed anything with                   24 whether or not he could fulfill his duties -- his
25 Mr. Pipes related to whether he investigated these                25 initial job description from afar.

                                               215-341-3616 transcripts@everestdepo.com
                                                      Everest Court Reporting LLC                                    Page: 8 (20 - 23)
               Case 2:19-cv-05030-JDW Document 125-4 Filed 04/20/21 Page 10 of 24
Deposition of Steven Levy                                                            Lisa Barbounis v. Middle Eastern Forum, et. al.
                                                         Page 24                                                           Page 26
 1 Q.        Have you ever heard about anyone discussing     1 A.        Well, it's a formal position. We have
 2 whether or not to sever ties with Mr. Roman in            2 certain responsibilities and he is on the executive
 3 connection to the allegations of sexual harassment that,  3 committee.
 4 you know, all these women made?                           4 Q.        So Gregg Roman is both the director of the
 5             MR. WALTON: I'll place an objection to        5 Middle East Forum and a member of the executive
 6 form. But you can answer, Steve.                          6 committee and a corporate officer, correct?
 7 BY MR. CARSON:                                            7 A.        Is his title director?
 8 Q.        Has it ever been discussed?                     8 Q.        Well, his employee title I believe is
 9 A.        I think the point of the conversations at the   9 director. I mean, do you know that --
10 time was that Gregg was not getting along with people in 10 A.        Okay. Okay.
11 the office and vice versa and -- but Daniel found him to 11 Q.        I mean, if you don't know that, you can say,
12 be quite valuable to the organization. So his solution   12 I didn't know his title directly -- director.
13 was to simply take him out of the office and change his  13 A.        Yeah, I --
14 duties so he wasn't interacting with those people.       14 Q.        I don't want to put words in your mouth, Mr.
15 Q.        Did Mr. Pipes say that Mr. Roman was too       15 Levy.
16 valuable to fire?                                        16 A.        Yeah, I'm not sure exactly, but...
17 A.        Those weren't exactly his words. Gregg is      17 Q.        Do you know what the position -- so Daniel
18 very effective at what he does.                          18 Pipes holds a position of president on the executive
19 Q.        Something to the extent of, we need him too    19 committee and as an officer, but I believe that's also
20 badly, we can't get rid of him?                          20 his title of the Middle East Forum; is that fair to say?
21             MR. WALTON: Objection to form.               21 A.        Sure.
22             THE WITNESS: Not that we can't. He was       22 Q.        And so then the next position underneath Mr.
23 like a real asset. He was doing great things for us.     23 Pipes in the hierarchy would be Gregg Roman, correct?
24 BY MR. CARSON:                                           24 A.        Yes.
25 Q.        In your mind, at what point do you weigh       25             MR. CARSON: That might be all. Can you
                                                      Page 25                                                              Page 27
 1 protecting the female employees who work with Gregg              1 guys just give me, like, a minute just to think --
 2 Roman over the great things he does for the Forum or --          2 collect my thoughts and then --
 3 A.        Well --                                                3           MR. WALTON: Sure, Seth. Mr. Levy, if
 4 Q.        Go ahead.                                              4 you just want to take a quick break, a comfort break and
 5 A.        To the extent that there was friction, Daniel          5 just to turn off your video -- turn off your sound too,
 6 solved the problem by getting Gregg out of the office.           6 please, and just check in in about five or ten minutes.
 7 Q.        Are you aware of whether complaints involving          7           MR. CARSON: Yeah, like 2:42, just five
 8 Gregg Roman continued even after Mr. Roman was told he           8 minutes from now.
 9 could not come to the office anymore?                            9           THE WITNESS: Okay. I'll be listening.
10 A.        No.                                                   10           MR. CARSON: Okay. Thank you, Mr. Levy.
11 Q.        Do you know whether -- so to understand your          11           MR. WALTON: Thank you.
12 answer, Mr. Pipes never told you about any reports of           12           THE VIDEOGRAPHER: So we are off the
13 retaliation?                                                    13 record, 2:37 p.m.
14            MR. WALTON: Objection to form. You can               14 (A recess was taken from 2:37 p.m. until 2:45 p.m.)
15 answer.                                                         15           MR. CARSON: Yeah, I think I'm done, Mr.
16            THE WITNESS: No. No. No one -- it was                16 Levy. Thank you for your time.
17 not reported to me that people in the office were               17             (Witness excused.)
18 complaining about somebody who was no longer there. Nor         18     (The deposition was concluded at 2:45 p.m.)
19 involved with managing them.                                    19                * * *
20 BY MR. CARSON:                                                  20
21 Q.        Do you know what it means for Gregg Roman to          21
22 be -- I might have already asked this. If I did, I              22
23 apologize. Do you know what it means for Gregg Roman to         23
24 be listed as an officer of the executive committee and          24
25 specifically the secretary? What does that job entail?          25

                                           215-341-3616 transcripts@everestdepo.com
                                                  Everest Court Reporting LLC                                      Page: 9 (24 - 27)
               Case 2:19-cv-05030-JDW Document 125-4 Filed 04/20/21 Page 11 of 24
Deposition of Steven Levy                                             Lisa Barbounis v. Middle Eastern Forum, et. al.


   1                              INSTRUCTIONS TO WITNESS
   2                                     Read your deposition over carefully.
   3      It is your right to read your deposition and make
   4      changes in form or substance.                     You should assign a
   5      reason in the appropriate column on the errata sheet for
   6      any change made.
   7

   8                                     After making any change in form or
   9      substance which has been noted on the following errata
 10       sheet, along with the reason for any change, sign your
 11       name on the errata sheet and date it.
 12

 13                                      Then sign your deposition at the end
 14       of your testimony in the space provided.                               You are
 15       signing it subject to the changes you have made in the
 16       errata sheet, which will be attached to the deposition
 17       before filing.         You must sign in the space provided.
 18       The witness need not be a notary public.                               Any competent
 19       adult may witness your signature.
 20

 21                                      Return the original errata sheet to
 22       the court reporter promptly!                    Court rules require filing
 23       within 30 days after you receive the deposition.
 24

 25

                                 215-341-3616 transcripts@everestdepo.com
                                        Everest Court Reporting LLC                                    Page: 10 (28)
               Case 2:19-cv-05030-JDW Document 125-4 Filed 04/20/21 Page 12 of 24
Deposition of Steven Levy                                             Lisa Barbounis v. Middle Eastern Forum, et. al.


   1                                       ERRATA SHEET
   2      PAGE         LINE   CHANGE                                   REASON
   3

   4

   5

   6

   7

   8

   9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

                                 215-341-3616 transcripts@everestdepo.com
                                        Everest Court Reporting LLC                                    Page: 11 (29)
               Case 2:19-cv-05030-JDW Document 125-4 Filed 04/20/21 Page 13 of 24
Deposition of Steven Levy                                             Lisa Barbounis v. Middle Eastern Forum, et. al.


   1                                     SIGNATURE PAGE
   2                                                 OF
   3                                       STEVEN LEVY
   4

   5                                     I hereby acknowledge that I have
   6      read the foregoing deposition, dated TUESDAY, NOVEMBER
   7      24, 2020, and that the same is a true and correct
   8      transcription of the answers given by me to the
   9      questions propounded, except for the changes, if any,
 10       noted on the attached errata sheet.
 11

 12

 13                              SIGNATURE:
 14

 15                              DATE:
 16

 17

 18

 19                              WITNESSED BY:
 20

 21                              DATE:
 22

 23

 24

 25

                                 215-341-3616 transcripts@everestdepo.com
                                        Everest Court Reporting LLC                                    Page: 12 (30)
               Case 2:19-cv-05030-JDW Document 125-4 Filed 04/20/21 Page 14 of 24
Deposition of Steven Levy                                             Lisa Barbounis v. Middle Eastern Forum, et. al.


   1                              C E R T I F I C A T E
   2

   3

   4                                     I, Pamela Pratt, Court Reporter and
   5      Notary Public in and for the Commonwealth of
   6      Pennsylvania, certify that the foregoing is a true and
   7      accurate transcript of the deposition of said witness
   8      taken by me on the date and place hereinbefore set
   9      forth.
 10

 11                                      I further certify that I am neither
 12       attorney nor counsel for, nor related to or employed by,
 13       any of the parties to the action in which this
 14       deposition was taken, and further, that I am not a
 15       relative or employee of any attorney or counsel employed
 16       in this action, nor am I financially interested in this
 17       case.
 18

 19

 20

 21

 22

 23                                      Pamela Pratt, Court Reporter
                                         Notary Public
 24

 25

                                 215-341-3616 transcripts@everestdepo.com
                                        Everest Court Reporting LLC                                    Page: 13 (31)
               Case 2:19-cv-05030-JDW Document 125-4 Filed 04/20/21 Page 15 of 24
Deposition of Steven Levy                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

      WORD INDEX             15:3                      back 17:13                     certification 4:4
                            agree 19:10                badly 24:20                    certify 31:6, 11
 <1>                        agreed 4:2 19:10           BARBOUNIS 1:1                  chairman 7:20, 23
 1650 2:1                   agreement 6:12              4:12 5:6, 8 20:17, 21          10:19 11:1 17:17
 1835 2:1                   ahead 25:4                  23:5                          change 24:13 28:6, 8,
 19103 2:1                  al 1:1 4:13                based 22:4, 6                  10 29:2
                            allegation 17:20, 24       basing 15:17                   changes 28:4, 15
 <2>                         19:21, 23 20:2 21:3,      beginning 1:1                   30:9
 2:03 1:1 4:10              9, 16                      believe 15:7 26:8, 19          charge 17:7
 2:19-cv-05030 1:1          allegations 11:6, 24       bells 14:25                    check 27:6
 2:37 27:13, 14              12:8 13:8 14:4, 8, 15,    better 19:15, 20               City 7:3
 2:42 27:7                  24 15:1, 8, 20 16:6,       beyond 11:9                    CIVIL 1:1
 2:45 27:14, 18             12 17:2 18:18, 23, 25      bit 13:15                      claim 23:15
 2016 17:8, 13, 18           19:7, 9, 11, 14 20:16,    Bloom 20:14                    client 20:17, 21
 2018 14:17, 19             21, 24 21:8, 18 22:1,      board 7:25 8:3, 6, 9,          collect 27:2
 2019 13:17 15:9            13, 21 24:3                15 9:5, 16, 17, 22             column 28:5
 2020 1:1 4:9 17:11         alleged 21:4, 5             10:1, 5 11:9, 11, 12,         come 18:7 25:9
  30:7                      allegedly 21:10            16, 19 12:16 13:1, 4,          comes 8:23, 25
 215)391-4790 2:1           ambassadors 10:9           6, 10, 11, 13                  comfort 27:4
 215)569-1999 2:1           answer 5:23 6:6            break 27:4                     coming 15:14
 215)665-2000 2:1            16:21 18:20 19:2, 3,      briefed 20:8                   commanded 18:7
 219-cv-05030 4:14          6 22:18 24:6 25:12,        briefing 13:15                 commercial 7:3
 24 1:1 30:7                15                         briefly 7:18                   committee 7:21, 24
 24th 4:9                   answers 5:24 6:1, 2,       broader 10:6                    8:1, 8, 10, 14, 19 9:5,
 2950 2:1                   20 30:8                    brought 13:14 19:9             9, 11, 19, 24 10:1, 3,
                            anticipate 6:5, 6          bunch 20:9                     10, 12, 17, 20, 24 11:8,
 <3>                        anymore 25:9               business 7:2, 15               12 13:9, 12, 22, 24
 30 28:23                   anyway 20:9                bylaws 12:22                    15:9 17:18 25:24
                            apologize 25:23                                            26:3, 6, 19
 <5>                        APPEARANCES 2:1            <C>                            committees 8:24
 5 3:1                      appearing 4:18             call 15:10, 11, 19             Commonwealth 1:1
 515 2:1                    appropriate 28:5           called 18:15                    31:5
 5th 14:17, 19              argue 16:8                 care 5:23                      compensation 8:21
                            asked 25:22                carefully 5:15 28:2            competent 28:18
 <A>                        asset 24:23                CARSON 2:1 3:1                 complainants 23:12
 accurate 31:7              assign 28:4                 5:3, 4 6:15, 17, 18           complaining 25:18
 accused 16:7, 10           ASSOCIATES 2:1              17:1 18:11, 22 19:5,          Complaint 14:12
 accusing 17:8              assume 13:25 15:15         19 22:19 24:7, 24               21:23
 acknowledge 30:5           assumption 15:17            25:20 26:25 27:7, 10,         Complaints 14:15
 ACTION 1:1 31:13,          assured 22:2 23:11         15                              21:21, 23 25:7
 16                         attached 28:16 30:10       Case 4:14 9:20                 concerned 13:12
 ad 8:23, 24, 25            attempted 17:25             14:12 16:24 23:5              concluded 27:18
 addressed 12:5             attend 8:17                 31:17                         conclusionary 22:25
 adult 28:19                attention 13:5             cases 14:6 16:13, 24           conference 1:1 2:1
 afar 23:25                 attorney 31:12, 15          17:4                          confirm 12:11
 affairs 7:7 8:1            avoid 6:8                  CAVALIER 2:1                   confirming 19:14
 affirmatively 22:9         aware 25:7                 Center 2:1                     connection 7:16
 aggrieved 21:20                                       certain 19:11 26:2              10:16, 20, 23 18:17
 ago 5:14, 16 11:17         <B>                        Certainly 5:15                  20:22 24:3


                                  215-341-3616 transcripts@everestdepo.com
                                         Everest Court Reporting LLC                                         Page: 14
               Case 2:19-cv-05030-JDW Document 125-4 Filed 04/20/21 Page 16 of 24
Deposition of Steven Levy                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 considering 16:23          DESCRIPTION 3:1            entail 25:25                   force 6:20
 context 23:22               23:25                     entity 9:22                    foregoing 30:6 31:6
 continued 25:8             detail 18:6                equip 10:8                     form 4:5 6:13
 contributor 7:22           determining 18:24          errata 28:5, 9, 11, 16,         16:20 18:10, 19 19:1
 contributory 9:2           difference 9:25            21 29:1 30:10                   22:17 24:6, 21 25:14
 conversation 12:6, 12      different 8:10             ESQUIRE 2:1                     28:4, 8
  15:16, 22, 24 22:8        directly 26:12             estate 7:2                     formal 26:1
 conversations 24:9         director 26:4, 7, 9, 12    et 1:1 4:12                    formally 8:19 10:13
 corporate 26:6             directors 9:22             Everest 4:15, 17               forth 31:9
 correct 8:4 9:6, 7         discrimination 17:7        evidence 23:14                 FORUM 1:1 2:1
  10:20 11:14 16:24,        discuss 14:23              exactly 24:17 26:16             4:12 5:6 7:17, 19
 25 17:18 26:6, 23          discussed 11:7, 24         EXAMINATION 5:1                 8:13 12:22 23:4, 5,
  30:7                       12:8 13:9, 13 14:6        examined 4:24                  19 25:2 26:5, 20
 counsel 4:3, 18             15:1, 19 21:24 23:17,     Examiner 18:1                  Forum's 14:16
  31:12, 15                 20, 21 24:8                excused 27:17                  found 24:11
 counterclaim 23:4          discussing 24:1            executive 7:20, 24             Frank 19:22
 counterclaims 23:7, 9      DISTRICT 1:1 4:13,          8:1, 8, 10, 14, 19 9:4,       friction 25:5
 couple 20:7                14                         9, 11, 19, 24 10:1, 3,         front 12:10
 Court 1:1 4:16, 17,        document 22:20             10, 11, 17, 20, 24 11:8,       fulfill 23:24
 18, 19 6:6, 19 19:9        documents 22:24            12 13:9, 12, 22, 24            full 6:24
  28:22 31:4, 23            Doerflinger 11:22           15:9, 15 17:18 25:24          further 31:11, 14
 courtroom 6:21             doing 16:8 23:11, 13        26:2, 5, 18
 COZEN 2:1                   24:23                     exists 10:16, 19               <G>
 currently 7:20             doubt 22:10                experience 15:18               Gabrielle 20:14
 customarily 12:15          duly 4:23                  extended 7:8, 13               Gannone 2:1 4:15
  13:18                     duties 12:24 23:24         extent 24:19 25:5              general 20:25
                             24:14                                                    generally 13:3
 <D>                        dwalton@cozen.com          <F>                            getting 24:10 25:6
 Daniel 2:1 5:6 8:21         2:1                       Fair 7:14 9:13                 give 5:18 18:8 27:1
 10:22 13:14 14:2                                       26:20                         given 22:10 30:8
 15:3, 10, 12 16:10         <E>                        fall 13:21                     Go 25:4
 20:8 23:6 24:11            East 5:6 7:16, 19          familiar 21:13                 going 5:8, 9 13:14
 25:5 26:17                  8:12 12:22 14:16          family 7:4, 5, 6, 7, 8,         15:4 19:17
 Daniel's 7:22               17:18 23:4, 5, 18         9, 11, 13                      GOLD 2:1
 date 4:9 28:11              26:5, 20                  far 13:12                      good 7:17 18:8 20:9
 30:15, 21 31:8             EASTERN 1:1 2:1            feels 20:25                    governance 9:22
 dated 30:6                  4:10, 12, 13              felt 16:2                      governors 8:15 9:5,
 DAVID 2:1                  EEOC 17:7                  female 17:6 19:22              17 10:2
 days 9:11 28:23            effect 6:21 15:25           20:3 25:1                     great 24:23 25:2
 Defendant 2:1              effective 24:18            filed 14:7 17:7 23:6           Gregg 2:1 5:7 8:21
 Defendants 1:1             eight 16:18                filing 4:4 28:17, 22            10:15 12:23 13:15,
 depends 13:20              either 13:9                financially 31:16              23 14:4, 9 15:2 16:1,
 deposition 1:1 4:11        Eleven 2:1                 Fink 2:1                       15 17:8, 21, 25 18:6
 5:5, 8, 10, 13 27:18       employed 31:12, 15         fire 24:16                      19:24 20:3, 17, 22
 28:2, 3, 13, 16, 23        employee 17:6 19:22        first 4:23 5:9 9:9              21:4, 5 23:6, 22
 30:6 31:7, 14               20:3, 4 21:16 26:8         11:16 15:7                     24:10, 17 25:1, 6, 8,
 DEREK 2:1                   31:15                     five 16:14 27:6, 7             21, 23 26:4, 23
 describe 7:18 9:25         employees 25:1             following 28:9                 ground 5:19
 described 16:4             employment 23:18           follows 4:24                   GROUP 2:1 10:4
 describes 18:6                                                                        21:20

                                  215-341-3616 transcripts@everestdepo.com
                                         Everest Court Reporting LLC                                         Page: 15
               Case 2:19-cv-05030-JDW Document 125-4 Filed 04/20/21 Page 17 of 24
Deposition of Steven Levy                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

 guess 7:6, 17 20:25        INSTRUCTIONS                 18:15 21:18, 19               means 25:21, 23
  21:12                      28:1                                                      meet 9:23
 guys 27:1                  interacting 24:14           <L>                            meeting 8:18 11:12,
                            interaction 18:6            ladies 21:20                   13, 19, 22, 25 12:10,
 <H>                        interested 10:7 31:16       Lara 20:4, 6, 7, 14            13 13:6, 11, 13, 22
 handful 16:23              intern 17:21                Laura 19:22                     14:15, 18, 22 15:5, 9
 handle 8:1                 interrupting 6:8            LAW 1:1 2:1                    meetings 7:25 8:3, 6,
 hang 12:21                 interview 18:16             Lawrence 11:3                  9, 16, 17 9:3, 4, 5, 9,
 happen 9:24                investigate 22:13           lawyer 19:4                    11, 17 10:10, 12 11:7
 happened 15:21             investigated 21:25          lay 8:20                        12:16 13:1, 4, 17, 19
 harassed 21:1              investigating 23:11         leaders 8:20 10:4               15:1
 harassment 11:7            investigation 22:6, 15,     Leah 17:21                     member 26:5
  12:8 13:8 14:8, 24        21                          Lee 17:7                       memory 15:19, 22
  16:11, 15 17:3, 8         investigative 22:25         Levey 4:11                     mentioned 17:9 20:8
  18:25 19:23 20:3, 23      involve 14:15               LEVY 1:1 3:1 4:22               21:22
  24:3                      involved 10:4 16:24          5:4 6:25 7:1 14:12            mentions 20:11
 harassments 14:5            17:3 25:19                  26:15 27:3, 10, 16            Merville 17:22
 hard 6:6                   involving 14:4, 9            30:3                          met 13:16
 hear 14:8 17:13, 20         15:2 16:15 17:3            Liberty 2:1                    Michael 4:15
  20:19                      19:22, 23 20:17 21:4,      LINE 29:2                      MIDDLE 1:1 2:1
 heard 14:25 15:8           10 25:7                     LISA 1:1 4:12 5:5,              4:12 5:6 7:16, 19
  17:2, 23, 24 18:4, 5,     Iris 20:5                   7 20:17, 21 23:5                8:12 12:22 14:16
 12 19:21 20:1, 2           Israel 21:11 23:23          list 8:13, 15 20:24             17:17 23:4, 5, 18
  24:1                      issues 11:6 13:8            listed 25:24                    26:5, 20
 hearing 17:16               14:23                      listening 27:9                 Mike 2:1
 held 8:6 13:18                                         lists 12:23                    mind 24:25
  14:16, 19, 23             <J>                         litigation 11:10, 15           minute 12:18 27:1
 help 10:5 12:25            Janet 11:22                  14:7                          minutes 10:11 12:18,
  21:11                     job 23:25 25:25             little 13:15 21:12             19, 24, 25 13:2, 3
 hereinbefore 31:8          JONATHAN 2:1                living 7:1                      27:6, 8
 Hey 6:11                   Joshua 11:1                 long 15:3 22:15                mistreatment 21:1
 hierarchy 26:23                                        longer 25:18                   moderate 7:25 8:3
 high-level 8:18            <K>                         lot 6:1                        months 20:10
 hoc 8:23, 24, 25           Katzen 11:1                                                motives 23:13
 holds 26:18                keep 5:19, 24 6:2           <M>                            mouth 26:14
 Hollin 11:3                 10:7                       making 28:8
 hotel 18:7                 kept 10:11, 14              management 7:6                 <N>
 huddle 8:20                kind 7:17                   managing 25:19                 name 4:15 5:4 6:24
 huh-uh 5:25                kinds 7:3                   Marc 2:1                       19:25 20:1, 11 28:11
                            knew 16:8                   Mark 6:25                      named 17:6, 21
 <I>                        know 5:22 6:8 9:10          MARKED 3:1                     19:22 20:4 21:17
 ID 3:1                      12:7, 11, 12, 14 15:3,     Market 2:1                     names 20:9
 important 6:4 18:24        14 16:14, 17 17:6           matter 4:12 5:5                need 24:19 28:18
 incorrect 23:12             18:14, 21, 24 19:7         8:23 11:6                      needed 9:13
 information 10:8            20:15, 16, 20, 25 21:3,    McNulty 21:17                  needing 23:22
  13:23 14:2, 3             21 22:12, 15, 24 23:3,      mean 7:23 12:9                 neither 31:11
 informed 10:7 15:5         6, 8 24:4 25:11, 21,        15:13 19:7, 23 20:7            never 17:23 18:4, 12
 initial 23:25              23 26:9, 11, 12, 17         26:9, 11                       25:12
 instance 13:6              knowledge 14:18             meaning 6:1                    New 7:2 11:20 13:7


                                   215-341-3616 transcripts@everestdepo.com
                                          Everest Court Reporting LLC                                         Page: 16
               Case 2:19-cv-05030-JDW Document 125-4 Filed 04/20/21 Page 18 of 24
Deposition of Steven Levy                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 night 18:8                 PAGE 3:1 29:2 30:1         property 7:3                   relationship 7:18
 nine 5:15                  Pam 4:17                   propounded 30:9                relative 31:15
 nods 5:25                  Pamela 1:1 31:4, 23        protecting 19:13               relegated 9:4
 normal 15:14               part 14:11, 14 21:20       25:1                           relevant 19:8
 Notary 1:1 28:18           particular 7:9 8:23        provide 5:21, 24               remember 5:23 12:2,
 31:5, 23                   parties 4:3 10:7           provided 28:14, 17             4, 6, 12, 25 15:23
 noted 4:19 6:17             31:13                     Public 1:1 28:18                20:11
 28:9 30:10                 Patricia 21:17, 19         31:5, 23                       report 11:9, 11
 notice 11:15               pay 13:4                   pull 7:25 9:1                  reported 16:15
 noticed 8:12 13:17         Penn 2:1                   put 26:14                       23:10 25:17
 November 1:1 4:9           PENNSYLVANIA                                              Reporter 1:1 4:17,
 14:17, 19 30:6              1:1 2:1 4:14 31:6         <Q>                            20 6:7, 20 18:1
 NUMBER 3:1 4:14            people 6:7 8:14, 15        question 4:5 6:5                28:22 31:4, 23
 7:21 16:17 19:11            9:1 24:10, 14 25:17        14:17 19:15, 20               Reporting 4:16, 18
                            performed 22:7             question-and-answer            reports 22:25 25:12
 <O>                        person 19:15                5:20                          represent 5:7 12:21
 object 19:17               personal 7:15 22:5         QUESTIONED 3:1                  14:14, 22 21:9
 Objection 16:20            Philadelphia 2:1           questions 5:21 12:1,           Representing 2:1
  18:10, 19 19:1 22:17       14:16, 19                 2, 4 30:9                      require 28:22
  24:5, 21 25:14            phone 15:10, 11            quick 27:4                     reserve 6:12
 objections 4:5 6:13        Pipes 2:1 5:6 14:2         quite 20:18 24:12              reserved 4:6
 occur 11:16, 19             15:18, 23 16:10                                          respective 4:3
 occurred 21:10              18:15 21:25 23:17         <R>                            response 5:21
 O'CONNOR 2:1                24:15 25:12 26:18,        raised 12:1, 2                 responses 5:21
 office 7:4, 5, 6, 7        23                         read 6:14 14:11                responsibilities 26:2
  14:16 21:1 23:23          Pipes's 10:22 22:21         21:22 28:2, 3 30:6            responsible 7:4
  24:11, 13 25:6, 9, 17     Place 2:1 13:19            real 7:2 24:23                 responsive 5:23
 officer 25:24 26:6, 19      19:25 24:5 31:8           really 7:14 13:4, 15           retaliation 25:13
 officers 8:13, 16          Plaintiff 1:1 2:1 5:7      reason 28:5, 10 29:2           return 18:8 28:21
 offices 14:20              please 4:20 6:2, 24        recall 11:5 12:11              review 9:23 10:13
 Okay 5:12, 18 6:2, 3,       7:18 12:22 27:6            13:7, 11 14:1 15:6,           rid 24:20
 9, 10 7:9, 12, 17 14:2     PLLC 2:1                   11 17:5, 16 20:1               RIESER 2:1
  23:3 26:10 27:9, 10       point 24:9, 25              21:7, 14, 15 22:8, 14,        Right 9:15 10:24
 once 8:7, 22 20:10         position 10:15, 16, 19,    23 23:2                         11:13 16:11 19:4, 9
 ones 19:8                  23 19:12 26:1, 17, 18,     receive 28:23                   23:2 28:3
 operate 7:3 10:5           22                         recess 27:14                   ring 14:24
 operating 9:21             Pratt 1:1 4:17 31:4,       recollection 21:11             Roman 2:1 5:7
 opinion 22:5               23                         record 4:9, 19 6:1,             12:23 13:23 14:4, 9
 organization 8:2           precise 16:17              24 20:13 27:13                  15:2 16:16 17:8, 21,
  10:5, 9 19:13 24:12       prejudicial 21:1           recording 18:5, 12             25 18:6 19:24 20:4,
 organizations 10:3         PRESENT 2:1 14:2           referring 14:3                 17, 22 21:5 23:19
  19:12                     presented 13:23            regard 19:13                    24:2, 15 25:2, 8, 21,
 original 28:21             president 10:23            Regarding 10:10                23 26:4, 23
 outreach 10:6               26:18                      14:25 20:3                    Roman's 10:15 23:18
                            prior 13:13 14:7           regular 9:3                    room 18:7
 <P>                         15:10, 12, 18, 20         related 11:6 13:8              round 10:22
 P.C 2:1                    probably 8:8                14:3, 18, 23 21:25            rules 5:19 28:22
 p.m 1:1 4:10 27:13,        problem 25:6                22:20 31:12                   running 5:19
 14, 18                     promptly 28:22             relations 23:19                runs 7:7


                                  215-341-3616 transcripts@everestdepo.com
                                         Everest Court Reporting LLC                                         Page: 17
               Case 2:19-cv-05030-JDW Document 125-4 Filed 04/20/21 Page 19 of 24
Deposition of Steven Levy                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

                            sounds 21:12               swear 4:20                     touching 21:4, 10, 17
 <S>                        space 28:14, 17            sworn 4:23 6:19                trade 17:25
 schedule 9:8, 10           speak 20:10, 20            Szott 20:4, 6, 7               trailed 20:19
 scheduled 9:13             specialist 4:16                                           transcript 12:10, 13
 sealing 4:4                specific 15:19, 22         <T>                             31:7
 second 12:22                16:12 20:24               take 5:5, 8 12:24              transcription 30:8
 secretary 10:15            specifically 8:19           13:19 19:12 21:7              transcripts 12:15
  12:23, 24 25:25            14:3 15:4, 11 21:7         24:13 27:4                    treasurer 11:3
 see 13:3                    25:25                     taken 1:1 12:15, 25            treatment 21:2
 seen 22:20 23:14           specifics 21:22             13:2 22:11 27:14              trial 4:6 6:14, 22
 segue 7:17                 spoke 15:4                  31:8, 14                      trip 21:10
 session 5:20               spring 13:21               takes 12:19                    true 16:4, 6, 9 30:7
 set 31:8                   spurious 22:3, 4, 6        talk 6:4 7:15, 16               31:6
 SETH 2:1 5:4 6:11          Standard 4:10               15:13 18:16                   try 5:19 6:8
  27:3                      started 7:22               talking 6:7                    trying 19:25
 seth@dereksmithlaw.c       state 6:24 22:9            tape 18:5                      Tuesday 1:1 4:9
 om 2:1                     statement 18:17            tell 16:5                       30:6
 sever 24:2                 statements 23:1            tempted 19:3                   turn 27:5
 severing 23:19             STATES 1:1 4:13            ten 5:14 27:6                  twice 8:7
 sex 17:21, 25 18:2         stationing 23:23           tends 9:24 10:6                two 6:7 8:8, 10, 20
 sexual 11:6 12:8           stenographic 4:19          terminating 23:18              type 6:7 18:23
  13:8 14:5, 8, 24          steps 22:10, 12            testified 4:24                 types 5:25 13:19
  16:10, 15 17:3, 8         Steve 24:6                 testifying 6:21                typically 9:20, 21
  18:25 19:23 20:3, 22      STEVEN 1:1 3:1             testimony 28:14                 12:17, 18
  21:6, 17 24:3              4:11, 22 6:25 30:3        Thank 6:16 27:10,
 sexually 20:25             stipulated 4:2             11, 16                         <U>
 sgold@discrimlaw.net       stipulations 6:12          thing 5:9                      uh-huh 5:25
  2:1                       stories 17:25 18:2         things 8:10 9:23               ulterior 23:13
 sheet 28:5, 10, 11, 16,    story 18:8                  14:23 23:1, 13 24:23          underneath 26:22
 21 29:1 30:10              Street 2:1                  25:2                          understand 6:22
 shrugs 5:25                Strike 19:20 20:14         think 5:15 11:17               25:11
 sic 18:7                   stuff 21:2                  16:5 17:5 18:24               understood 19:15
 SIDNEY 2:1                 subject 8:25 20:10          19:21 20:7 24:9               UNITED 1:1 4:13
 sign 6:14 28:10, 13,        28:15                      27:1, 15                      unwanted 21:17
 17                         substance 28:4, 9          thoughts 27:2                  upset 16:1
 signature 28:19 30:1,      such-and-such 9:11         three 8:8 20:10                usual 6:12
 13                         sued 16:1, 2               ties 24:2                      usually 13:20
 signing 28:15              suggestion 23:20, 21       Tiffany 17:7
 simply 24:13               Suite 2:1                  time 4:6, 10 5:12              <V>
 sitting 15:7               summer 17:9, 11             6:7, 13 15:5, 8, 13           valuable 24:12, 16
 small 10:4                 support 23:14               20:12 24:10 27:16             various 7:3
 SMITH 2:1                  supporter 7:22             times 8:8 13:7 20:8            veracity 12:7 18:25
 smooth 5:19                supporters 10:6            title 26:7, 8, 12, 20           19:14
 solution 24:12             suppose 13:14 16:7,        today 4:17, 18 5:5             verbal 5:25 6:2
 solved 25:6                22                          6:2, 20 7:14, 15 15:7         versa 24:11
 somebody 13:3 25:18        sure 10:13, 14 12:20       Today's 4:9                    versus 4:12 5:6 23:5
 sorry 20:18                 16:12 21:12 26:16,        told 16:18 21:15               vice 11:1 24:11
 sort 22:6                  21 27:3                     25:8, 12                      video 1:1 2:1 4:16
 sound 27:5                 surprise 16:19, 23         touched 21:5                    27:5


                                  215-341-3616 transcripts@everestdepo.com
                                         Everest Court Reporting LLC                                         Page: 18
               Case 2:19-cv-05030-JDW Document 125-4 Filed 04/20/21 Page 20 of 24
Deposition of Steven Levy                                             Lisa Barbounis v. Middle Eastern Forum, et. al.

 Videographer 2:1           young 17:21
  4:8 27:12
 video-recorded 4:11
 Videotaped 1:1
 vote 9:23
 vs 1:1

 <W>
 waived 4:4
 WALTON 2:1 6:11,
 16 16:20 18:10, 19
  19:1, 17 22:17 24:5,
 21 25:14 27:3, 11
 want 5:18, 22 19:6
  26:14 27:4
 Washington 18:1
 way 13:16 21:6 22:9
 website 8:12
 weigh 19:13 24:25
 Well 5:18 7:25 8:7
  9:20 16:7 22:8
  23:10 25:3 26:1, 8
 we're 5:4, 8 7:14, 15
  11:10
 When's 5:12
 WILLIAM 2:1
 WITNESS 3:1 4:20
  6:14 16:22 18:21
  19:3 23:1 24:22
  25:16 27:9, 17 28:1,
 18, 19 31:7
 WITNESSED 30:19
 women 16:14 17:3
  18:16 22:22 24:4
 word 21:8
 words 24:17 26:14
 work 7:10 9:24
  21:10 25:1
 working 15:18
 wrong 11:18 16:2, 3

 <Y>
 Yeah 18:3 19:17
  26:13, 16 27:7, 15
 year 8:7, 8, 22 9:10
  11:17 13:16, 18, 19
 years 5:14, 15, 17
  7:21 16:15
 York 7:2 11:20 13:7


                                 215-341-3616 transcripts@everestdepo.com
                                        Everest Court Reporting LLC                                         Page: 19
               Case 2:19-cv-05030-JDW Document 125-4 Filed 04/20/21 Page 21 of 24
Deposition of Steven Levy                                             Lisa Barbounis v. Middle Eastern Forum, et. al.

       WORD LIST            agreement (1)             briefing (1)                   concluded (1)
                            ahead (1)                 briefly (1)                    conclusionary (1)
 <1>                        al (2)                    broader (1)                    conference (5)
 1650 (1)                   allegation (8)            brought (2)                    confirm (1)
 1835 (2)                   allegations (30)          bunch (1)                      confirming (1)
 19103 (3)                  alleged (2)               business (2)                   connection (7)
                            allegedly (1)             bylaws (1)                     considering (1)
 <2>                        ambassadors (1)                                          context (1)
 2:03 (2)                   answer (11)               <C>                            continued (1)
 2:19-cv-05030 (1)          answers (5)               call (3)                       contributor (1)
 2:37 (2)                   anticipate (2)            called (1)                     contributory (1)
 2:42 (1)                   anymore (1)               care (1)                       conversation (6)
 2:45 (2)                   anyway (1)                carefully (2)                  conversations (1)
 2016 (3)                   apologize (1)             CARSON (20)                    corporate (1)
 2018 (2)                   APPEARANCES (1)           Case (6)                       correct (11)
 2019 (2)                   appearing (1)             cases (4)                      counsel (4)
 2020 (4)                   appropriate (1)           CAVALIER (1)                   counterclaim (1)
 215)391-4790 (1)           argue (1)                 Center (1)                     counterclaims (2)
 215)569-1999 (1)           asked (1)                 certain (2)                    couple (1)
 215)665-2000 (1)           asset (1)                 Certainly (1)                  Court (12)
 219-cv-05030 (1)           assign (1)                certification (1)              courtroom (1)
 24 (2)                     ASSOCIATES (1)            certify (2)                    COZEN (1)
 24th (1)                   assume (2)                chairman (5)                   currently (1)
 2950 (1)                   assumption (1)            change (5)                     customarily (2)
                            assured (2)               changes (3)
 <3>                        attached (2)              charge (1)                     <D>
 30 (1)                     attempted (1)             check (1)                      Daniel (15)
                            attend (1)                City (1)                       Daniel's (1)
 <5>                        attention (1)             CIVIL (1)                      date (5)
 5 (1)                      attorney (2)              claim (1)                      dated (1)
 515 (1)                    avoid (1)                 client (2)                     DAVID (1)
 5th (2)                    aware (1)                 collect (1)                    days (2)
                                                      column (1)                     Defendant (2)
 <A>                        <B>                       come (2)                       Defendants (1)
 accurate (1)               back (1)                  comes (2)                      depends (1)
 accused (2)                badly (1)                 comfort (1)                    deposition (15)
 accusing (1)               BARBOUNIS (7)             coming (1)                     DEREK (1)
 acknowledge (1)            based (2)                 commanded (1)                  describe (2)
 ACTION (3)                 basing (1)                commercial (1)                 described (1)
 ad (3)                     beginning (1)             committee (31)                 describes (1)
 addressed (1)              believe (3)               committees (1)                 DESCRIPTION (2)
 adult (1)                  bells (1)                 Commonwealth (2)               detail (1)
 afar (1)                   better (2)                compensation (1)               determining (1)
 affairs (2)                beyond (1)                competent (1)                  difference (1)
 affirmatively (1)          bit (1)                   complainants (1)               different (1)
 aggrieved (1)              Bloom (1)                 complaining (1)                directly (1)
 ago (4)                    board (23)                Complaint (2)                  director (4)
 agree (1)                  break (2)                 Complaints (4)                 directors (1)
 agreed (2)                 briefed (1)               concerned (1)                  discrimination (1)


                                 215-341-3616 transcripts@everestdepo.com
                                        Everest Court Reporting LLC                                          Page: 1
               Case 2:19-cv-05030-JDW Document 125-4 Filed 04/20/21 Page 22 of 24
Deposition of Steven Levy                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 discuss (1)                fall (1)                   GROUP (3)                      investigative (1)
 discussed (13)             familiar (1)               guess (4)                      involve (1)
 discussing (1)             family (8)                 guys (1)                       involved (4)
 DISTRICT (4)               far (1)                                                   involving (11)
 document (1)               feels (1)                  <H>                            Iris (1)
 documents (1)              felt (1)                   handful (1)                    Israel (2)
 Doerflinger (1)            female (4)                 handle (1)                     issues (3)
 doing (4)                  filed (3)                  hang (1)
 doubt (1)                  filing (3)                 happen (1)                     <J>
 duly (1)                   financially (1)            happened (1)                   Janet (1)
 duties (3)                 Fink (1)                   harassed (1)                   job (2)
 dwalton@cozen.com          fire (1)                   harassment (14)                JONATHAN (1)
 (1)                        first (5)                  harassments (1)                Joshua (1)
                            five (3)                   hard (1)
 <E>                        following (1)              hear (4)                       <K>
 East (12)                  follows (1)                heard (12)                     Katzen (1)
 EASTERN (6)                force (1)                  hearing (1)                    keep (4)
 EEOC (1)                   foregoing (2)              held (5)                       kept (2)
 effect (2)                 form (12)                  help (3)                       kind (1)
 effective (1)              formal (1)                 hereinbefore (1)               kinds (1)
 eight (1)                  formally (2)               Hey (1)                        knew (1)
 either (1)                 forth (1)                  hierarchy (1)                  know (37)
 Eleven (1)                 FORUM (14)                 high-level (1)                 knowledge (4)
 employed (2)               Forum's (1)                hoc (3)
 employee (7)               found (1)                  holds (1)                      <L>
 employees (1)              Frank (1)                  Hollin (1)                     ladies (2)
 employment (1)             friction (1)               hotel (1)                      Lara (4)
 entail (1)                 front (1)                  huddle (1)                     Laura (1)
 entity (1)                 fulfill (1)                huh-uh (1)                     LAW (2)
 equip (1)                  full (1)                                                  Lawrence (1)
 errata (7)                 further (2)                <I>                            lawyer (2)
 ESQUIRE (5)                                           ID (1)                         lay (1)
 estate (1)                 <G>                        important (2)                  leaders (2)
 et (2)                     Gabrielle (1)              incorrect (1)                  Leah (1)
 Everest (2)                Gannone (2)                information (4)                Lee (1)
 evidence (1)               general (1)                informed (2)                   Levey (1)
 exactly (2)                generally (1)              initial (1)                    LEVY (12)
 EXAMINATION (1)            getting (2)                instance (1)                   Liberty (1)
 examined (1)               give (3)                   INSTRUCTIONS (1)               LINE (1)
 Examiner (1)               given (2)                  interacting (1)                LISA (7)
 excused (1)                Go (1)                     interaction (1)                list (4)
 executive (32)             going (5)                  interested (2)                 listed (1)
 exists (2)                 GOLD (2)                   intern (1)                     listening (1)
 experience (1)             good (3)                   interrupting (1)               lists (1)
 extended (2)               governance (1)             interview (1)                  litigation (3)
 extent (2)                 governors (4)              investigate (1)                little (2)
                            great (2)                  investigated (1)               living (1)
 <F>                        Gregg (34)                 investigating (1)              long (2)
 Fair (3)                   ground (1)                 investigation (3)              longer (1)


                                  215-341-3616 transcripts@everestdepo.com
                                         Everest Court Reporting LLC                                          Page: 2
               Case 2:19-cv-05030-JDW Document 125-4 Filed 04/20/21 Page 23 of 24
Deposition of Steven Levy                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 lot (1)                    normal (1)                 Pipes (13)                     regard (1)
                            Notary (4)                 Pipes's (2)                    Regarding (3)
 <M>                        noted (4)                  Place (5)                      regular (1)
 making (1)                 notice (1)                 Plaintiff (3)                  related (8)
 management (1)             noticed (2)                please (6)                     relations (1)
 managing (1)               November (5)               PLLC (1)                       relationship (1)
 Marc (1)                   NUMBER (5)                 point (2)                      relative (1)
 Mark (1)                                              position (9)                   relegated (1)
 MARKED (2)                 <O>                        Pratt (4)                      relevant (1)
 Market (3)                 object (1)                 precise (1)                    remember (8)
 matter (4)                 Objection (8)              prejudicial (1)                report (2)
 McNulty (1)                objections (3)             PRESENT (2)                    reported (3)
 mean (8)                   occur (2)                  presented (1)                  Reporter (9)
 meaning (1)                occurred (1)               president (2)                  Reporting (2)
 means (2)                  O'CONNOR (1)               prior (6)                      reports (3)
 meet (1)                   office (12)                probably (1)                   represent (5)
 meeting (17)               officer (3)                problem (1)                    Representing (3)
 meetings (23)              officers (2)               promptly (1)                   require (1)
 member (1)                 offices (1)                property (1)                   reserve (1)
 memory (2)                 Okay (15)                  propounded (1)                 reserved (1)
 mentioned (3)              once (3)                   protecting (2)                 respective (1)
 mentions (1)               ones (1)                   provide (2)                    response (1)
 Merville (1)               operate (2)                provided (2)                   responses (1)
 met (1)                    operating (1)              Public (4)                     responsibilities (1)
 Michael (1)                opinion (1)                pull (2)                       responsible (1)
 MIDDLE (15)                organization (5)           put (1)                        responsive (1)
 Mike (1)                   organizations (2)                                         retaliation (1)
 mind (1)                   original (1)               <Q>                            return (2)
 minute (2)                 outreach (1)               question (5)                   review (2)
 minutes (9)                                           question-and-answer            rid (1)
 mistreatment (1)           <P>                        (1)                            RIESER (1)
 moderate (2)               P.C (1)                    QUESTIONED (1)                 Right (8)
 months (1)                 p.m (6)                    questions (5)                  ring (1)
 motives (1)                PAGE (3)                   quick (1)                      Roman (28)
 mouth (1)                  Pam (1)                    quite (2)                      Roman's (2)
                            Pamela (3)                                                room (1)
 <N>                        part (4)                   <R>                            round (1)
 name (7)                   particular (2)             raised (2)                     rules (2)
 named (5)                  parties (3)                read (6)                       running (1)
 names (2)                  Patricia (2)               real (2)                       runs (1)
 need (2)                   pay (1)                    really (3)
 needed (1)                 Penn (1)                   reason (3)                     <S>
 needing (1)                PENNSYLVANIA (7)           recall (17)                    schedule (2)
 neither (1)                people (7)                 receive (1)                    scheduled (1)
 never (4)                  performed (1)              recess (1)                     sealing (1)
 New (3)                    person (1)                 recollection (1)               second (1)
 night (1)                  personal (2)               record (6)                     secretary (4)
 nine (1)                   Philadelphia (5)           recording (2)                  see (1)
 nods (1)                   phone (2)                  referring (1)                  seen (2)


                                  215-341-3616 transcripts@everestdepo.com
                                         Everest Court Reporting LLC                                          Page: 3
               Case 2:19-cv-05030-JDW Document 125-4 Filed 04/20/21 Page 24 of 24
Deposition of Steven Levy                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 segue (1)                  steps (2)                  Tiffany (1)                    video (7)
 session (1)                Steve (1)                  time (13)                      Videographer (3)
 set (1)                    STEVEN (6)                 times (3)                      video-recorded (1)
 SETH (4)                   stipulated (1)             title (4)                      Videotaped (1)
 seth@dereksmithlaw.c       stipulations (1)           today (8)                      vote (1)
 om (1)                     stories (2)                Today's (1)                    vs (1)
 sever (1)                  story (1)                  told (4)
 severing (1)               Street (3)                 touched (1)                    <W>
 sex (3)                    Strike (2)                 touching (3)                   waived (1)
 sexual (17)                stuff (1)                  trade (1)                      WALTON (14)
 sexually (1)               subject (3)                trailed (1)                    want (5)
 sgold@discrimlaw.net       substance (2)              transcript (3)                 Washington (1)
  (1)                       such-and-such (1)          transcription (1)              way (3)
 sheet (7)                  sued (2)                   transcripts (1)                website (1)
 shrugs (1)                 suggestion (2)             treasurer (1)                  weigh (2)
 sic (1)                    Suite (2)                  treatment (1)                  Well (10)
 SIDNEY (2)                 summer (2)                 trial (3)                      we're (5)
 sign (4)                   support (1)                trip (1)                       When's (1)
 signature (3)              supporter (1)              true (6)                       WILLIAM (1)
 signing (1)                supporters (1)             try (2)                        WITNESS (15)
 simply (1)                 suppose (3)                trying (1)                     WITNESSED (1)
 sitting (1)                sure (8)                   Tuesday (3)                    women (6)
 small (1)                  surprise (2)               turn (2)                       word (1)
 SMITH (1)                  swear (1)                  twice (1)                      words (2)
 smooth (1)                 sworn (2)                  two (4)                        work (4)
 solution (1)               Szott (3)                  type (2)                       working (1)
 solved (1)                                            types (2)                      wrong (3)
 somebody (2)               <T>                        typically (5)
 sorry (1)                  take (8)                                                  <Y>
 sort (1)                   taken (8)                  <U>                            Yeah (6)
 sound (1)                  takes (1)                  uh-huh (1)                     year (8)
 sounds (1)                 talk (5)                   ulterior (1)                   years (5)
 space (2)                  talking (1)                underneath (1)                 York (3)
 speak (2)                  tape (1)                   understand (2)                 young (1)
 specialist (1)             tell (1)                   understood (1)
 specific (4)               tempted (1)                UNITED (2)
 specifically (6)           ten (2)                    unwanted (1)
 specifics (1)              tends (2)                  upset (1)
 spoke (1)                  terminating (1)            usual (1)
 spring (1)                 testified (1)              usually (1)
 spurious (3)               testifying (1)
 Standard (1)               testimony (1)              <V>
 started (1)                Thank (4)                  valuable (2)
 state (2)                  thing (1)                  various (1)
 statement (1)              things (7)                 veracity (3)
 statements (1)             think (10)                 verbal (2)
 STATES (2)                 thoughts (1)               versa (1)
 stationing (1)             three (2)                  versus (3)
 stenographic (1)           ties (1)                   vice (2)


                                  215-341-3616 transcripts@everestdepo.com
                                         Everest Court Reporting LLC                                          Page: 4
